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                      IN THE DISTRICT COURT OF THE UNITED STATES
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                 SPARTANBURG DIVISION

 Blockquarry Corp. f/k/a ISW Holdings, Inc.,              C/A No.: 7:23-cv-01427-TMC

         Plaintiff,

 v.

 Litchain Corp. and Gaffney Board of Public
 Works,

         Defendants.

 _____________________________________

 Gaffney Board of Public Works,
                                                     UNOPPOSED MOTION TO
         Defendant/Counter-      and     Cross-      WITHDRAW OF R. TAYLOR
         Claimant,                                   SPEER AND LAW FIRM FOX
                                                     ROTHSCHILD LLP
 v.

 Blockquarry Corp. f/k/a ISW Holdings, Inc.,

         Counterclaim Defendant,

 and

 Litchain Corp.,

         Defendant/Crossclaim-Defendant.


        R. Taylor Speer and the law firm Fox Rothschild LLP, pursuant to Local Civ. Rule

83.I.07(A) (D.S.C.) and South Carolina Rule of Professional Conduct 1.16, move the Court for an

order permitting R. Taylor Speer and the law firm Fox Rothschild LLP (collectively, “Counsel”)

to be relieved as counsel in this matter for Plaintiff/Counterclaim Defendant Blockquarry Corp.

f/k/a ISW Holdings, Inc. (“Blockquarry”).

        Counsel moves to withdraw on the basis that a conflict of interest has developed. Pursuant

to Local Civ. Rule 83.I.07(A) (D.S.C.), Counsel states the instant motion is made with the consent




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of Blockquarry, and it will not leave Blockquarry unrepresented in the case. On April 8, 2024,

Andrew A. Mathias of law firm Maynard Nexsen filed a notice of appearance for Blockquarry,

and Mr. Mathias shall remain as counsel for Blockquarry following Counsel’s withdrawal, if

permitted by the Court.

        Pursuant to Local Civ. Rule 7.02 (D.S.C.), the undersigned states it consulted

with opposing counsel, who provided consent to the relief sought in the instant motion on behalf

of Gaffney Board of Public Works, proposed intervenor Bitmain Technologies Georgia Limited,

and proposed intervenor Crypto Infiniti LLC.         The undersigned states it did not seek a

consultation with the only remaining party, Litchain Corp., because Litchain Corp. defaulted in

this case and has never made an appearance. (See ECF Nos. 59 and 76.)

        WHEREFORE Counsel requests this Court enter an order permitting Counsel to withdraw

and relieving Counsel of any further duty with respect to the instant case.

                                       Respectfully submitted,

 April 9, 2024                                  FOX ROTHSCHILD LLP

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                                                Greenville, SC 29601
                                                Tel: 864.751.7600

 Greenville, South Carolina                     /s/R. Taylor Speer
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                                                Federal ID# 12267
                                                tspeer@foxrothschild.com

                                                Attorneys for Plaintiff Blockquarry Corp. f/k/a
 157159876                                      ISW Holdings, Inc.



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